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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA F E L N ¥
INDICTMENT FOR
THEFT OF GOVERNMENT FUNDS

UNITED STATES OF AMERICA * CRIMINAL NO. 23 ™ 0 0 0 0 5
v. * SECTION: SF CT. 0 M A G, 9

PENELOPE PASSERO * VIOLATION: 18 U.S.C. § 641
* ae *
The Grand Jury charges that:
COUNT 1

Beginning on or about February 1, 2016, through on or about December 31, 2020, in the
Eastern District of Louisiana and elsewhere, the defendant, PENELOPE PASSERO, did
knowingly embezzle, steal, purloin, and convert to her use, money belonging to the United States
and a department and agency thereof, namely, money of the Social Security Administration and
the Internal Revenue Service, to which she knew she was not entitled, when she utilized
approximately $59,320.97 in Social Security Administration and Coronavirus Aid, Relief, and
Economic Security Act (‘CARES ACT”) funds.

All in violation of Title 18, United States Code, Section 641.

 

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NOTICE OF FORFEITURE
1. The allegation of Count 1 of this Indictment is incorporated by reference as though
set forth fully herein for the purpose of alleging forfeiture to the United States.
2. As a result of the offense alleged in Count 1, the defendant, PENELOPE PASSERO,
shall forfeit to the United States pursuant to Title 18, United States Code, Section 981(a)(1)(C),
and Title 28, United States Code, Section 2461(c), any property, real or personal, which constitutes

or is derived from proceeds traceable to said offense.

3. If any of the above-described property, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d, has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided without

difficulty;
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the United States shall seek a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any other property of the defendant up to the value of said property.

 

DUANE A. EVANS
UNITED STATES ATTORNEY

BRIAN M. KLEBBA
Assistant United States Attorney

 

New Orleans, Louisiana
January 12, 2023
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